Case 1-25-42000-e€SS DOCL Filed UO/lso/2e5 Entered Vo/loizo 1L4is0ics

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United States Bankruptcy Court for the:
EASTERN DISTRICT OF NEW YORK EASs

Case number (if known) Chapter 7

1023 Fy cheek itis a 3!

amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor's name ACDC BATTERIES LLC

2. All other names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer Identification  XX-XXXXXXX
Number (EIN)

4. Debtor's address Principal place of business Mailing address, if different from principal place of
business
660 UTICA AVE
Brooklyn, NY 11203
Number, Street, City, State & ZIP Code P.O. Box, Number, Street, City, State & ZIP Code
Kings Location of principal assets, if different from principal
County place of business

Number, Street, City, State & ZIP Code

5. Debtor's website (URL)

6. Type of debtor @ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP)

0 Partnership (excluding LLP)
O Other. Specify:

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Debtor
Name

ACDC BATTERIES LLC

Case number (if known)

7. Describe debtor's business A. Check one:

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small
business debtor’ must check
the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapier V of chapter 11
(whether or not the debtor is a
“small business debtor”) must
check the second sub-box.

9. Were prior bankruptcy
cases filed by or against
the debtor within the last 8
years?

If more than 2 cases, attach a
separate list.

Official Form 201

C1 Health Care Business (as defined in 11 U.S.C. § 101(27A))
O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
1 Railroad (as defined in 11 U.S.C. § 101(44))

O) Stockbroker (as defined in 11 U.S.C. § 101(53A))

C] Commodity Broker (as defined in 11 U.S.C. § 101(6))

O Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

B. Check ail that apply

D1 Tax-exempt entity (as described in 26 U.S.C. §501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
C1 Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See

http:/Awww.uscourts. gov/four-digit-national-association-naics-codes.
4231

Check one:

a Chapter 7

1 Chapter 9

1 Chapter 11. Check ail that apply:

(1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

A plan is being filed with this petition.

Ooo

Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
(Official Form 201A) with this form.

The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
O1 Chapter 12

H No.
1 Yes.

When
When

Case number
Case number

District
District

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Debtor ACDC BATTERIES LLC

Name

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

11. Why is the case filed in
this district?

12. Does the debtor own or
have possession of any
real property or personal
property that needs
immediate attention?

Case number (if known)

HNo
DO Yes.
Debtor Relationship
District When Case number, if known
Check ail that apply:

M@ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district.

OA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

HNo
0 Yes.

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check ail that apply.)

C1 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

C1 It needs to be physically secured or protected from the weather.

1 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

OD Other
Where is the property?
Number, Street, City, State & ZIP Code

Is the property insured?
ONo
OyYes. Insurance agency

Contact name

Phone

cae Statistical and administrative information

13. Debtor's estimation of
available funds

14. Estimated number of
creditors

15. Estimated Assets

16. Estimated liabilities

Official Form 201

Check one:

C1 Funds will be available for distribution to unsecured creditors.

B After any administrative expenses are paid, no funds will be available to unsecured creditors.

1-49 D1 1,000-5,000 D 25,001-50,000

Cl 50-99 0 5001-10,000 1 50,001-100,000

C1 100-199 01 10,001-25,000 OO More than100,000

TJ 200-999

$0 - $50,000 1 $1,000,001 - $10 million © $500,000,001 - $4 billion

CO $50,001 - $100,000 Gi $10,000,001 - $50 million 1 $1,000,000,001 - $10 billion
C1 $100,001 - $500,000 F $50,000,001 - $100 million [1 $10,000,000,001 - $50 billion
C2 $500,001 - $1 million 01 $100,000,001 - $500 million C1 More than $50 billion

@ $0 - $50,000 1 $1,000,001 - $10 million 1 $500,000,004 - $1 billion

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Debtor ACDC BATTERIES LLC Case number (if known)
Name
OF $50,001 - $100,000 1 $10,000,001 - $50 million C1 $1,000,000,001 - $10 billion
D1 $100,001 - $500,000 D1 $50,000,001 - $100 million C1 $10,000,000,001 - $50 billion
01 $500,001 - $1 million D $100,000,001 - $500 million OD More than $50 billion

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Debtor ACDC BATTERIES LLC Case number (if known)

Name

an Request for Relief, Declaration, and Signatures

WARNING -— Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
of authorized The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
representative of debtor
| have been authorized to file this petition on behalf of the debtor.
| have examined the information in this petition and have a reasonable belief that the information is true and correct.

| declare under penalty of perjury that the foregoing is true and correct.

Executedon June 12, 2023

MM /DD/YYYY
X Isi MANON VAKNIN MANON VAKNIN
Signature of authorized representative of debtor Printed name
Tite OFFICER
18. Signature of attorney x Isf pals
Signature of attorney for debtor MM/DD/YYYY

Printed name

Firm name
9

Number, Street, City, State & ZIP Code

Contact phone Email address

Bar number and State

Official Form 204 Voluntary Petition for Non-Individuals Filing for Bankruptcy page 5
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WIDE WORLD INC.
660 UTICA AVE
Brooklyn, NY 11203
Case 1-25-42000-e€SS DOCL Filed UO/lso/2e5 Entered Vo/loizo 1L4is0ics

United States Bankruptcy Court
Eastern District of New York
Inre ACDC BATTERIES LLC Case No.
Debtor(s) Chapter 7

CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for _ACDC BATTERIES LLC _ in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:

None [Check if applicable]

June 12, 2023 /s/ MANON VAKNIN
Date

Signature of Attorney or Litigant
Counsel for ACDC BATTERIES LLC
